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FoR THE WESTERN DISTRICT oF TENNESSEE .
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UNITED STATES OF AMERICA, W,'D (`.?;`: hi` . -..-.}FHS
Plaintiff,
v. No. 02-20380-B/V

MICHAEL R. SMITH,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is the motion of defendant, Michael R. Slnith, for Release Pending
Appeal filed on July ], 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections

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IT IS so oRDERED this / '3 day of July, 2005.

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§ g DANlEL BREEN \
sTATEs DIsTRICT JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 317 in
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Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Floor

Mcmphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Mcmphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

